                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

MEDICAL IMAGING CORP.

                             Plaintiffs,

v.                                                    Case No. 8:18-cv-437-T-36AAS

PARTNERS IMAGING HOLDINGS LLC,

                             Defendant.

                                                  /

                                NOTICE OF APPEARANCE


       PLEASE TAKE NOTICE that the law firm of Brown Robert, LLP hereby gives notice to

the Court and all interested parties of its appearance on behalf of the Plaintiff MEDICAL

IMAGING CORP. in the above-captioned matter, and requests that pursuant to Rule 5 of the

Federal Rules of Civil Procedure, copies of all notices, pleadings, motions and other papers in

this matter be served upon the undersigned.


Dated: March 15, 2018
                                                      /s/ Seth P. Robert

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                               CERTIFICATE OF SERVICE

               I hereby certify that on March 15, 2018, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, causing a copy and notice of electronic filing
to be sent to:

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                                                    /s/ Seth P. Robert
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